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            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                                    :
WILLIAM C. TOTH JR., et al.,        :
                                    :
           Plaintiffs,
                                    :
     v.                             :
                                    :
LEIGH M. CHAPMAN, et al.,           :   No. 1:22-cv-00208-JPW-KAJ-PS
                                    :
           Defendants.              :   Three Judge Panel Convened
                                    :   Pursuant to 28 U.S.C. § 2284(a)
     v.
                                    :
CAROL ANN CARTER, et al.,           :
                                    :
           Intervenor-Defendants.   :


   CARTER INTERVENORS’ MEMORANDUM IN OPPOSITION TO
     PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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                                 INTRODUCTION
       While a preliminary injunction is itself an extraordinary remedy, the relief

Plaintiffs seek here—to abrogate a congressional map adopted by Pennsylvania’s

highest court and order at-large elections—is unprecedented. No court has held that

a state court violates the U.S. Constitution by implementing a lawful congressional

map where the legislature has failed to do so, or by altering election-related deadlines

to facilitate the implementation of that map. For good reason: the Supreme Court

has instructed that federal courts must not “obstruct state reapportionment nor permit

federal litigation to be used to impede it.” Growe v. Emison, 507 U.S. 25, 34 (1993).

This Court need not address Plaintiffs’ meritless demands. Plaintiffs lack standing

to advance the Elections Clause claims on which their Motion for Preliminary

Injunction (“Motion”) is based 1 and which fail as a matter of law in any event, and

the other claims advanced in their most recent pleadings are either constitutionally

barred or fail on the merits. The Court should deny Plaintiffs’ Motion.

                                  BACKGROUND
I.     State Court Proceedings
       In December 2021, when it became evident that Pennsylvania’s political

branches would not agree on a congressional map, the Carter Petitioners—voters in

overpopulated congressional districts—filed a petition in Pennsylvania’s


1
  As the Carter Petitioners and Defendants set forth in their motions to dismiss, the
legal defects in Plaintiffs’ lawsuit require its dismissal under Rule 12(b)(1).

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Commonwealth Court alleging malapportionment. See Second Am. Compl.

(“SAC”) Ex. 1, ECF No. 49-1. Consistent with decades of precedent, they asked the

court to adopt a map for the 2022 elections. See id.

      On December 20, the Commonwealth Court scheduled a hearing, announcing

it would adopt a map if the General Assembly and Governor failed to enact one by

January 30, 2022, and that its hearing would address anticipated “revisions to the

2022 election schedule/calendar.” Exhibit A at 2. The court also invited parties to

seek intervention by December 31, 2021. Id. Ten parties moved to intervene,

including the General Assembly’s Republican and Democratic leadership, Governor

Wolf, current and former members of Pennsylvania’s congressional delegation, and

multiple groups of voters. Plaintiffs did not seek intervention.

      The Commonwealth Court granted intervention to six parties and amici status

to the rest; all participated in the court’s process to adopt a congressional map. See

SAC Ex. 4, ECF No. 49-4. In their intervention applications, Pennsylvania’s

“Legislative Leaders” stated that they did not “contest” that, “[w]hen . . . the

legislature is unable or chooses not to act, it becomes the judiciary’s role to

determine the appropriate redistricting plan,” Exhibit B at 5 (citing League of

Women Voters v. Commonwealth, 178 A.3d 737, 822 (2018)); and they interposed

no objection to “the commencement of a judicial redistricting process,” id. at 8, or

the state courts’ power to modify the election schedule, as they had done after past


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impasses; Exhibit C at 6 (citing Mellow v. Mitchell, 607 A.2d 204, 237 (1992)). The

Legislative Leaders also conceded that the case raised no Elections Clause issues,

because “it is settled law that state courts have authority to declare and remedy

violations of the U.S. Constitution, even with respect to laws governing

congressional elections.” Exhibit B at 5 n.2 (citing Growe, 507 U.S. at 32–36).

       Parties and amici submitted 13 maps to the Commonwealth Court for

consideration. SAC Ex. 4. The court held a two-day evidentiary hearing, restating

that it would adopt one of the proposed maps if the political process failed to result

in a map by January 30, and expressly requesting comments from all parties about

election deadline changes. SAC Exs. 4, 9 at 14–15, ECF No. 49-4, 49-9.

       Meanwhile, Governor Wolf vetoed the General Assembly’s proposed map on

January 26. Id. On February 2, the Pennsylvania Supreme Court exercised

extraordinary jurisdiction, designated as Special Master the Commonwealth Court

judge who presided over the lower court proceedings, and scheduled argument for

February 18. SAC Ex. 8, ECF No. 49-8. The Pennsylvania Supreme Court

temporarily suspended the current primary election calendar, SAC Ex. 10, ECF No.

49-10, and entertained intervention motions and amicus briefs from new parties.

Plaintiffs still did not seek to participate.

       In advance of the February 18 argument, the Secretary recommended minor

modifications to the existing election schedule, such as extending the deadline for


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nomination petitions from March 8 to March 15, that would both be “feasible” for

the Commonwealth and “minimize disruption” of the 2022 elections. Exhibit D at 2.

The Secretary explained that primary elections could proceed as scheduled if the

Pennsylvania Supreme Court adopted a plan by February 27. Id. at 8.

        The Pennsylvania Supreme Court announced the adoption of the 2022

Congressional Map on February 23. SAC Ex. 11, ECF No. 49-11. The Court retained

the Commonwealth’s statutorily-set May 17, 2022 primary date and pushed the

deadline by which petitions must be filed with the Secretary by one week. Id.

Congressional candidates have been circulating nomination petitions under the 2022

Congressional Map for twelve days, and state officials have taken numerous steps

to implement the Map. See id. at 3; MTD Ex. 1, ECF No. 59-1.2

II.     Federal Court Proceedings
        Throughout the entirety of the months-long state court proceedings, Plaintiffs

not once sought to participate. They did not seek to intervene when the

Commonwealth Court expressly invited intervenors, making clear both that the court

intended to adopt a map if the political branches could not, and that it would move

deadlines as necessary to effectuate that process. Nor did they intervene when the




2
 The Pennsylvania Supreme Court indicated that a written opinion explaining its
decision would follow, SAC Ex. 11 at 4; that opinion has not yet issued.

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case was taken up by the Pennsylvania Supreme Court, which also made clear that

it intended to adopt a map.

       Instead, Plaintiffs simply watched and waited. It was not until February 11,

2022 when Plaintiffs finally acted. But rather than attempt to belatedly insert

themselves into the state action, they initiated litigation that collaterally attacks those

proceedings and the judgment of Pennsylvania’s highest court. Compl., ECF No. 1.

       In their complaint, Plaintiffs alleged that Pennsylvania’s state courts lacked

authority to order a remedial map under any circumstances, alleging a violation of

the Elections Clause and 2 U.S.C. § 2a(c)(5). Id. On February 20, Plaintiffs filed a

first amended complaint to add a new plaintiff. Am. Compl., ECF No. 7. That same

day, Plaintiffs filed the present Motion for a TRO and/or preliminary injunction,

asking this Court to order Pennsylvania to conduct at-large elections on the theory

that state courts are wholly barred from implementing remedial congressional plans.

Motion at 8, ECF No. 11.3

       On February 25, the Court denied Plaintiffs’ motion for a TRO. Plaintiffs then

moved for leave to file a second amended complaint, alleging for the first time that

the 2022 Congressional Map’s two-person deviation violates the principle of one-

person, one-vote and that it is therefore malapportioned. See generally SAC, ECF



3
 Plaintiffs’ request for preliminary relief was earlier filed as ECF No. 8 but re-filed
one day later in response to this Court’s scheduling order, ECF No. 9.

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No. 49. The next day, before this Court granted leave to file, Plaintiffs sought relief

from the Supreme Court on all their claims. See Notice of Appeal, ECF No. 50

(docketed on Feb. 28, 2022 at 4:47 a.m.); Order, Toth v. Chapman, No. 22-0208-

JPW (M.D. Pa. Feb. 28, 2022), ECF No. 55 (docketed on Feb. 28, 2022 at 12:18

p.m.). The Carter Petitioners and Defendants opposed Plaintiffs’ Supreme Court

Application, and the Supreme Court denied it. See Order, ECF No. 73. Plaintiffs

have not sought preliminary injunctive relief from this Court on their

malapportionment claim.

      On March 4, Plaintiffs again shifted course and now “readily acknowledge

that Branch [v. Smith] allows courts to remedy violations of 2 U.S.C. § 2c by drawing

single-member districts.” MTD Opp. at 13, ECF No. 67.

                               LEGAL STANDARD
      “Preliminary injunctive relief is an extraordinary remedy and should be

granted only in limited circumstances.” Kos Pharms., Inc. v. Andrx Corp., 369 F.3d

700, 708 (3d Cir. 2004) (quotations and citation omitted). The party seeking relief

“must meet the threshold for the most critical factors: it must demonstrate that it can

win on the merits,” which requires more than the “mere possibility” that relief will

be granted, “and that it is more likely than not to suffer irreparable harm in the

absence of preliminary relief.” Reilly v. City of Harrisburg, 858 F.3d 173, 179 & n.3

(3d Cir. 2017), as amended (June 26, 2017) (citations and quotations omitted). “If



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these gateway factors are met, a court then considers the remaining two factors”:

“the possibility of harm to other interested persons from the grant or denial of the

injunction” and “the public interest”—and “determines in its sound discretion if all

four factors, taken together, balance in favor of granting the requested preliminary

relief.” Id. at 176, 179.

        Importantly, “when the preliminary injunction is directed not merely at

preserving the status quo,” but seeks to change the status quo through a mandatory

injunction, “the burden on the moving party is particularly heavy.” Punnett v.

Carter, 621 F.2d 578, 582 (3d Cir. 1980). In such a case, “the moving party’s ‘right

to relief must be indisputably clear.’” Trinity Indus., Inc. v. Chi. Bridge & Iron Co.,

735 F.3d 131, 139 (3d Cir. 2013) (emphasis added) (quoting Communist Party of

Ind. v. Whitcomb, 409 U.S. 1235, 1235 (1972)).

                                    ARGUMENT

I.      Plaintiffs’ right to relief is not indisputably clear.
        Plaintiffs fall far short of showing a “reasonable probability” of success, see

Motion at 6, let alone that their right to relief is “indisputably clear,” Trinity Indus.,

735 F.3d at 139.4


4
  Plaintiffs’ Motion addresses only their Elections Clause claims, and those, too, on
a theory they have since disclaimed. Because Plaintiffs have asserted new claims
and legal theories since filing their Motion, the Carter Petitioners address Plaintiffs’
latest merits arguments (asserted in their motion to dismiss opposition), while


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      A.     Plaintiffs lack standing to assert the claims underlying their
             Motion.
      As the Carter Petitioners set forth in their motion to dismiss, Plaintiffs do not

meet the requirements of constitutional or prudential standing for their Elections

Clause claims—the only claims at issue in this Motion.

      Plaintiffs lack Article III standing because they fail to allege any “concrete

and particularized” injury-in-fact. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61

(1992). Any so-called “depriv[ation]” of an “entitlement to vote in all 17

congressional races” does not amount to a cognizable injury because it would be felt

by all Pennsylvania voters equally. DaimlerChrysler Corp. v. Cuno, 547 U.S. 332,

344 (2006) (standing absent where plaintiff “suffers in some indefinite way in

common with people generally”).

      The Third Circuit has similarly rejected the interest that candidate-Plaintiffs

assert in the rules governing their elections. Bognet v. Sec’y Commonwealth of Pa.,

980 F.3d 336, 351 (3d Cir. 2020), cert. granted, judgment vacated as moot. Bognet

v. Degraffenreid, 141 S. Ct. 2508 (2021) (holding election rule did not affect

candidate “in a particularized way” because “all candidates in Pennsylvania . . . are

subject to the same rules”). And, the Supreme Court has rejected standing based on



reserving their argument that Plaintiffs have waived the arguments underlying their
revised legal strategy. See Hu v. Att’y Gen. of U.S., 219 F. App’x. 254, 258 n. 4 (3d
Cir. 2007) (finding argument waived and abandoned when not pursued in argument
section of brief).

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undifferentiated grievances or abstract policy statements, Gill v. Whitford, 138 S. Ct.

1916, 1931 (2018), like an interest in overseeing the lawful administration of

elections, as election official-Plaintiff alleges here. See SAC ¶ 57.

      That none of Plaintiffs’ alleged injuries are sufficient to trigger this Court’s

jurisdiction is further underscored by the fact that their Motion is based solely on

purported Elections Clause violations, which the Supreme Court has held private

citizens lack standing to prosecute because the alleged injury is “obvious[ly]” an

“undifferentiated, generalized grievance about the conduct of government.” Lance

v. Coffman, 549 U.S. 437, 442 (2007). Consistent with Lance, federal courts have

repeatedly declined to adjudicate Elections Clause claims brought by individual

plaintiffs. See, e.g., Wise v. Circosta, 978 F.3d 93, 101 (4th Cir. 2020), application

for stay denied, 141 S. Ct. 658 (U.S. Oct. 28, 2020); Corman v. Torres, 287 F. Supp.

3d 558, 567 (M.D. Pa. 2018). This Court should follow suit.

      Even if Plaintiffs had suffered a sufficient injury-in-fact, they do not possess

prudential standing, as their claim is premised on the General Assembly’s authority

to draw districts, see SAC ¶¶ 60-61, rather than Plaintiffs’ “own legal rights and

interests,” Kowalski v. Tesmer, 543 U.S. 125, 129 (2004) (quoting Warth v. Seldin,

422 U.S. 490, 499 (1975)). Because Plaintiffs have identified neither a “close

relationship with the [General Assembly]” nor a “‘hindrance’ to [its] ability to




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protect [its] own interests,” id. at 130, they cannot assert the General Assembly’s

rights, see Corman, 287 F. Supp. 3d at 571–73.

       Without standing, Plaintiffs have no right to relief, much less one that is

“indisputably clear.”

       B.     Plaintiffs’ Elections Clause claims fail as a matter of law.

              1. The relief Plaintiffs seek is foreclosed by federal statute and
                 Supreme Court precedent.
       Plaintiffs’ original theory of this case—that the Elections Clause bars a state

court from adopting a congressional plan when the legislative process fails—is

foreclosed by binding Supreme Court precedent and congressional enactments

pursuant to the Elections Clause itself. See, e.g., Branch v. Smith, 538 U.S. 254, 272

(2003) (explaining that congressional enactment “embraces action by state and

federal courts when the prescribed legislative action has not been forthcoming”);

Growe, 507 U.S. at 33 (finding state court’s “issuance of its plan (conditioned on the

legislature’s failure to enact a constitutionally acceptable plan)” by date certain was

“precisely the sort of state judicial supervision of redistricting [the Court] has

encouraged”); Scott v. Germano, 381 U.S. 407, 409 (1965); see also 2 U.S.C. § 2c

(“There shall be established by law a number of districts equal to the number of

Representatives to which such State is so entitled . . . .”); id. § 2a(c) (listing processes

for election of congressional representatives “[u]ntil a State is redistricted in the




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manner provided by the law thereof . . . .”); Ariz. State Legislature v. Ariz. Indep.

Redistricting Comm’n, 576 U.S. 787, 812 (2015).

       The Motion does not grapple with this controlling authority; that alone

warrants its denial. Instead, Plaintiffs have since morphed their theory of the case,

but their latest theory similarly fails.5 Plaintiffs now claim that it is solely the

Pennsylvania Supreme Court’s modification of election-related deadlines that

requires at-large elections. MTD Opp. at 18. Namely, Plaintiffs assert it became too

late for the state court to act the moment it changed any election-related deadline,

regardless of when the change was made or that the primary date remained the same.

       In support, Plaintiffs grasp at an isolated phrase from Branch about

“disrupting the election process,” see MTD Opp. at 5, 13, 14, 18, 20, and ignore the

very limited circumstance in which a plurality of justices found § 2a(c)(5) would

apply.6 Indeed, in the same paragraph Plaintiffs cite, the plurality unequivocally

found that § 2a(c)(5) is “inapplicable unless the state legislature, and state . . . courts,

have all failed to redistrict pursuant to § 2c,” Branch, 538 U.S. at 275, and is only

“a last-resort remedy” in the narrow circumstance when, “on the eve of a




5
  Plaintiffs now “readily acknowledge that the state judiciary can draw maps.” at 19;
compare id. at 17 with SAC ¶ 60.
6
  Three other justices found that § 2a(c)(5) had been impliedly repealed and would
never require at-large elections. Branch, 538 U.S. at 285 (2003) (Stevens, J.,
concurring).

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congressional election, no constitutional redistricting plan exists and there is no time

for either the State’s legislature or the courts to develop one,” id. (emphases added).

      Here, there was undoubtedly “time” for the Pennsylvania courts to develop a

new congressional map—it did so, twelve weeks before the primary election.

Nothing in federal law or Supreme Court precedent bars courts from altering pre-

election deadlines to facilitate implementation of a congressional map. Such

alterations are essential to crafting a remedy for the underlying legal violations

caused by a political impasse—a remedy the Supreme Court has encouraged state

courts to formulate. See, e.g., Growe, 507 U.S. at 37. There is no reasonable way to

read binding precedent “specifically encourag[ing]” state courts to adopt

congressional maps upon a political impasse, Growe, 507 U.S. at 34, to

simultaneously prohibit those courts from altering election deadlines to effectuate

that remedy.

      State and federal courts alike modify election deadlines when needed to

enforce lawful redistricting plans, and the Supreme Court has authorized judicial

alteration of the election schedule in these circumstances. See, e.g., Upham v.

Seamon, 456 U.S. 37, 44 (1982) (“[W]e leave it to [the District Court] in the first

instance to determine whether to . . . reschedule the [congressional] primary

elections.”); see also Larios v. Cox, 305 F. Supp. 2d 1335, 1343 (N.D. Ga. 2004);

Order, In the Matter of 2022 Legislative Districting of the State, Misc. Nos. 21, 24,


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25, 26, 27 (Md. Feb. 11, 2022) (postponing 2022 primary filing deadlines); Order,

Harper v. Hall, No. 413P21 (N.C. Dec. 8, 2021) (same); Mellow, 607 A.2d at 237,

244 (revising pre-primary deadlines after impasse “to provide for an orderly election

process”).

       Following this well-worn path, Pennsylvania’s Supreme Court made minor

modifications to certain election deadlines leading up to the May 17 primary “[t]o

provide for an orderly election process” alongside its adoption of a congressional

map. SAC Ex. 11 at 3, ECF No. 49-11. These slight modifications were made

“easily,” on the Secretary’s own recommendation, without any evidence of “undue

collateral effect”—all while leaving the date of the primary election intact.7 Cf.

Merrill v. Milligan, 142 S. Ct. 879, 881 n.1 (2022) (Kavanaugh, J., concurring)

(“How close to an election is too close may depend in part on . . . how easily the

State could make the change without undue collateral effects.”). Notably, the

Legislative Leaders expressly endorsed the state courts’ power to modify the



7
  Plaintiffs fail to acknowledge that their requested relief would itself upend the
election calendar currently in place. The fact that the 2022 Congressional Map is
being implemented only underscores that this case is the opposite of those in which
courts have chosen not to shift election deadlines. Pileggi v. Aichele, 843 F. Supp.
2d 584, 596 (E.D. Pa. 2012) (“With election deadlines quickly approaching, and no
existing alternative reapportionment plan, Defendant needs certainty as to how to
proceed.”); see Diaz v. Silver, 932 F. Supp. 462, 468–69 (E.D.N.Y. 1996) (listing
cases holding that, without any alternative redistricting plan readily available,
harm to the public in changing election rules or dates outweighs likely benefit to
plaintiffs of granting a preliminary injunction).

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election schedule, arguing that “nominating petition deadlines” have been moved by

state courts in the past and “could still be moved in this election cycle.” Exhibit C at

6 (citing Mellow, 607 A.2d at 237). And at no point did they object to the election

calendar changes that were proposed by either the Special Master or the Secretary.

      Plaintiffs offer no authority or evidence to the contrary. A constitutional

congressional map was implemented in “time,” and elections are proceeding

accordingly. Therefore, “§ 2a(c) cannot be properly applied” because the state

“court[] . . . effect[ed] the redistricting mandated by § 2c.” Branch, 538 U.S. at 275.

             2.     Adopting Plaintiffs’ theory would lead to absurd results.
      The practical effect of Plaintiffs’ theory would be absurd. Since Congress

enacted § 2c in 1967, no state has conducted at-large congressional elections. And

Plaintiffs’ rigid theory of “timeliness” under § 2c would functionally preclude state

courts from resolving political impasses in redistricting. State courts typically wait

to adjudicate impasse actions until later in the process, when it becomes abundantly

clear that the political branches will not be able to agree. But if they take steps to

redistrict “too late,” the federal courts may step in. See Growe, 507 U.S. at 34

(explaining federal courts must defer to state courts on reapportionment “[a]bsent

evidence that [the state court] will fail to timely perform that duty”). Plaintiffs would

add a new complication to this process: at some point (although exactly when is not

perfectly clear from Plaintiffs’ papers) a litigant who is unhappy with the trajectory


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of the state court proceedings could run to federal court and demand at-large

elections. Plaintiffs’ theory thus cannot be squared with the Supreme Court’s

endorsement of state courts’ role in remedying impasses, see supra pp. 10–11.

       C.    Plaintiffs’ equal population claim fails on the merits.
       Plaintiffs’ Motion does not seek an injunction based on their

malapportionment claim, but that claim is also meritless. Article I, § 2 of the U.S.

Constitution establishes that congressional districts must be apportioned to contain

equal population “as nearly as practicable.” Wesberry v. Sanders, 376 U.S. 1, 7–8

(1964). No court has ever held that a congressional map with a plus-or-minus-one-

person deviation (like the 2022 Congressional Map)—as opposed to an absolute one-

person deviation—does not satisfy this requirement. Indeed, the opposite is true.

Colleton Cnty. Council v. McConnell, 201 F. Supp. 2d 618, 664 (D.S.C. 2002)

(finding court plan with two-person deviation “complies with the ‘as nearly as

practicable’ population equality requirement . . . with a deviation of plus or minus

one person.” (citing Karcher v. Daggett, 462 U.S. 725, 730 (1983))); see also Essex

v. Kobach, 874 F. Supp. 2d 1069, 1088 (D. Kan. 2012) (“The Court’s plan results in

two districts with populations of 713,278 and two with populations of 713,281 . . .

[which] satisfies Article I, Section 2.”).8


8
 Likewise, since 2000, at least six states have adopted congressional apportionment
plans with two-person deviations. See, e.g., Oregon and Georgia (two-person


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      Additionally, Supreme Court precedent speaks only of “significant variance

between districts” as raising constitutional concerns. Karcher, 462 U.S. at 730–31

(emphasis added). Even if the 2022 Congressional Map’s two-person deviation—a

difference of only one person from perfect equality, given the odd number of

districts—did not fall within the plus-or-minus one person requirement of population

equality, it is not the kind of significant deviation that requires further review or

justification. Cf. Tennant, 567 U.S. at 762–65 (accepting justifications for 4,871-

person deviation in congressional plan); Abrams v. Johnson, 521 U.S. at 99–100

(finding court-ordered congressional plan with “slight deviation[]” of 2,047 persons

justified); see also Johnson v. Miller, 922 F. Supp. 1556, 1571–72 (S.D. Ga. 1995)

(listing absolute population of each district in the map at issue in Abrams). Thus,

Plaintiffs’ malapportionment claim fails as a matter of law.

      In any event, the 2022 Congressional Map’s two-person deviation is

justified—and the justification precisely aligns with the Supreme Court’s prior

decisions. Although the Pennsylvania Supreme Court has not yet issued an opinion


population range after 2010 redistricting cycle); South Carolina and Colorado (two-
person population range in court-enacted plans after 2000 redistricting cycle); and
Kentucky and Maryland (two-person population range after 2000 redistricting
cycle); see also “2010 Redistricting Deviation Table,” Nat’l Conf. State Legislatures
(Jan. 15, 2020), https://www.ncsl.org/research/redistricting/2010-ncsl-redistricting-
deviation-table.aspx; “Designing P.S. 94-171 Redistricting Data for the Year 2010
Census,” U.S. Census Bureau (Sept. 2004), https://www2.census.gov/programs-
surveys/rdo/2010_pl94-171rv.pdf, at 26.


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setting forth its reasons for adopting the 2022 Congressional Map, it was aware that

any steps to further equalize population in that Map would have required an

additional election precinct split.9 Courts have approved such tradeoffs as sufficient

justification for much greater population deviations than the one here. See Shayer v.

Kirkpatrick, 541 F. Supp. 922, 933–34 (W.D. Mo. 1982), aff’d sub nom., Schatzle v.

Kirkpatrick, 456 U.S. 966 (1982) (adopting court-drawn plan with 961-person

deviation and holding that such “minor deviations based on preserving definitive

county and political subdivisions are permissible”); Mellow, 607 A.2d at 208, 218,

237–43 (holding 63-person deviation was “fully justified by the policy of preserving

the boundaries of municipalities and precincts” and adopting conclusion that “a

serious election administration problem arises from requiring the voters in a single

precinct to look to two different sets of congressional candidates”).

       Plaintiffs provide no reason to second-guess the judgment of the

Commonwealth’s highest court that the 2022 Congressional Map (and its two-person

deviation) achieves a legitimate state goal. The fact that the Special Master’s

recommended map has a one-person deviation does not change that conclusion. That

map—which was vetoed by the Governor—scored worse than the 2022



9
   The Carter Petitioners provided the Pennsylvania Supreme Court with an
alternative map that had a one-person population deviation at the expense of an
additional voting district split. See Exhibit E. That court chose not to adopt the
alternative.

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Congressional Map on a variety of metrics, including county splits and retention of

prior district populations. See Exhibit F at 2, 4. The Pennsylvania Supreme Court

had to consider similar tradeoffs between the 2022 Congressional Map and each of

the proposed maps, see id., and ultimately chose the map that adhered most closely

to all of the state’s map-drawing criteria.

      Finally, even if the 2022 Congressional Map’s population deviation were

“unacceptable,” the proper remedy would be to “require some very minor changes

in the court’s plan—a few shiftings of precincts—to even out districts with the

greatest deviations.” Abrams, 521 U.S. at 100. It would not warrant the

unprecedented elimination of congressional districts altogether.

      D.     The Eleventh Amendment bars Plaintiffs’ claim that the
             Pennsylvania Supreme Court did not follow Pennsylvania’s
             “policies and preferences” in choosing a congressional map.
      To the extent Plaintiffs now assert that their Elections Clause claims are

grounded in the Pennsylvania Supreme Court’s failure to abide by Pennsylvania law

in its choice of a congressional map, that claim is barred by the Eleventh

Amendment. See MTD Opp. at 21.

      While Plaintiffs try to disguise their gripe with the 2022 Congressional Map

as a federal constitutional violation, they advance nothing more than disagreements

over the application of Pennsylvania’s “policies and preferences.” As such, they seek

a federal injunction against state officials for alleged violations of state law—


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precisely the relief barred under the Eleventh Amendment. Pennhurst State Sch. &

Hosp. v. Halderman, 465 U.S. 89, 117 (1984) (holding “a federal suit against state

officials on the basis of state law contravenes the Eleventh Amendment when . . .

the relief sought and ordered has an impact directly on the State itself”); Balsam v.

Sec’y of State, 607 F. App’x 177, 183–84 (3d Cir. 2015) (Eleventh Amendment bars

state law claims even when “premised on violations of the federal Constitution”).

II.      Plaintiffs do not establish likely irreparable harm.
         Plaintiffs’ failure to allege a cognizable injury is fatal to their ability to

demonstrate irreparable harm. “A court may not grant . . . injunctive relief without”

a showing that plaintiffs “are likely to experience irreparable harm without an

injunction.” Adams v. Freedom Forge Corp., 204 F.3d 475, 484 (3d Cir. 2000).

Although Plaintiffs claim they are “suffering irreparable harm from the defendants’

failure to obey the requirements of the Elections Clause and 2 U.S.C. § 2a(c),” they

cannot rely on generalized injuries arising out of novel Elections Clause claims to

show irreparable harm. See supra pp. 8–9. “To the contrary,” courts “finding that a

violation of a constitutional right alone constitutes irreparable harm are limited to

cases involving individual rights, not the allocation of powers among the” federal

and state legislatures under the Elections Clause. Aposhian v. Barr, 958 F.3d 969,

990 (10th Cir. 2020) (rejecting finding of irreparable harm where plaintiff alleged

“generalized separation of powers” violation).


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       Moreover, the purported harms Plaintiffs identify have since been rendered

moot: the Pennsylvania Supreme Court has ordered elections to proceed under a new

schedule that not only permits candidate-Plaintiffs to collect signatures and

campaign, but ensures that election official-Plaintiff may timely execute the election.

SAC Ex. 11. These new facts only further demonstrate that Plaintiffs’ alleged harms

were never actual or imminent, but instead arise from Plaintiffs’ own conduct or are

speculative. “Issuing a preliminary injunction based only on a possibility of

irreparable harm is inconsistent with [the courts’ recognition that] injunctive relief

[i]s an extraordinary remedy that may only be awarded upon a clear showing that

the plaintiff is entitled to such relief.” Winter v. Nat. Res. Def. Council, Inc., 555

U.S. 7, 22 (2008) (citing Mazurek v. Armstrong, 520 U.S. 968, 972 (1997) (per

curiam)). Plaintiffs have failed to carry their burden of showing irreparable harm.

III.   Equity and the public interest weigh against an injunction.
       Both the “balance of the equities” and the “public interest” strongly disfavor

enjoining the 2022 Congressional Map and ordering at-large elections. The Supreme

Court has counseled that “[a]s an election draws closer,” court orders affecting

election rules “can themselves result in voter confusion and consequent incentive to

remain away from the polls.” Purcell v. Gonzalez, 549 U.S. 1, 5 (2006). This

principle is especially salient here.




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      The election is already proceeding under the 2022 Congressional Map:

candidates are more than halfway through the nomination process; the deadline to

file nomination petitions is one week away; and Defendants are readying for the

primary under that Map in ten weeks. Enjoining the Map now would require

substantial revisions to the election calendar (at significant expense to the

Commonwealth), severely prejudice the congressional campaigns already

underway, and create massive confusion for candidates, voters, and election officials

alike—not to mention the disruption and inequities of eliminating districted

congressional elections in Pennsylvania for the first time in more than 200 years.

      Plaintiffs also have no justification for seeking emergency relief on the eve of

an election where they strategically elected not to participate in the process until the

eleventh hour. See supra pp. 1–6. The equities and the public interest clearly cut

against granting an injunction.

                                   CONCLUSION
      For the foregoing reasons, the Court should deny Plaintiffs’ Motion for

Preliminary Injunction.




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Dated: March 8, 2022                    Respectfully submitted,

Abha Khanna**                           /s/ Elizabeth V. Wingfield
Elias Law Group LLP                     Timothy D. Katsiff (PA 75490)
1700 Seventh Ave, Suite 2100            Elizabeth V. Wingfield (PA 32477)
Seattle, WA 98101                       Edward D. Rogers (PA 69337)*
akhanna@elias.law                       Marcel S. Pratt (PA 307483)*
T: (206) 656-0177                       Robert J. Clark (PA 308105)*
                                        Michael R. McDonald (PA 326873)**
Lalitha D. Madduri**                    Paul K. Ort (PA 326044)*
Jyoti Jasrasaria**                      Ballard Spahr LLP
Christina Ford*                         1735 Market Street, 51st Floor
Joseph Posimato*                        Philadelphia, PA 19103
Tina Meng**                             KatsiffT@ballardspahr.com
Elias Law Group LLP                     WingfieldE@ballardspahr.com
10 G St. NE, Suite 600                  RogersE@ballardspahr.com
Washington, D.C. 20002                  PrattM@ballardspahr.com
lmadduri@elias.law                      ClarkR@ballardspahr.com
jjasrasaria@elias.law                   McDonaldM@ballardspahr.com
tmeng@elias.law                         OrtP@ballardspahr.com
T: (202) 968-4490                       T: (215) 665-8500
                                        F: (215) 864-8999
Matthew Gordon**
Perkins Coie LLP                        Counsel for Carter Petitioners
1201 Third Avenue Suite 4900
Seattle, WA 98101                       *Motions for Pro Hac Vice
MGordon@perkinscoie.com                 Forthcoming
T: (206) 359-3552                       **Admitted Pro Hac Vice




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                       CERTIFICATE OF COMPLIANCE
       I hereby certify that the foregoing Opposition to Plaintiffs’ Preliminary

Injunction contains 4,992 words, based on the word count of the word processing

system used to prepare this brief, and thereby complies with the Local Civil Rule

7.8.

Dated: March 8, 2022                        /s/ Elizabeth V. Wingfield




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